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11
                          UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                             SOUTHERN DIVISION
14
15
   PHILIP ALVAREZ, RANDALL                     Case No. 2:18-cv-8605-JVS-SS
   BETTISON, MARC KELLEHER, and
16 DARLENE VAUGH individually and
   on behalf of all others similarly situated,
17                                             DECLARATION OF PAUL
                    Plaintiffs,                WRIGHT IN SUPPORT OF
18                                             MOTION FOR PRELIMINARY
                            v.                 APPROVAL OF CLASS ACTION
19
                                               SETTLEMENT
20 SIRIUS  XM   RADIO      INC.,

21                   Defendant.
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              DECLARATION OF PAUL WRIGHT ISO MTN FOR PRELIM. APPROVAL
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1           I, Paul Wright, declare as follows:
2           1.     I submit this declaration in support of preliminary approval of the Class
3     Action Settlement in the matter of Alvarez v. Sirius XM Radio Inc., Case No. 2:18-cv-
4     8605-JVS-SS (C.D. Cal.). The matters stated herein are true of my own knowledge or,
5     where indicated, I am informed and believe that they are true. If called upon as a
6     witness, I could and would competently testify as follows.
7           2.     I am a competent adult over the age of eighteen years of age and a resident
8     of California.
9           3.     I have participated in this litigation throughout its pendency, including by
10    discussing my experience with purchasing a lifetime subscription from Sirius XM,
11    searching for and gathering any relevant documents, reviewing the complaints, being
12    available for my attorneys throughout the litigation, staying updated about the
13    litigation, and approving the terms of the proposed Settlement.
14          4.     I have reviewed, understood, and fully agree to the terms and conditions
15    of the proposed Settlement. I approve and support the Settlement because I believe
16    that it is fair, reasonable, and in the best interests of the Class. I have no conflict with
17    the Class and pursued this litigation so that I would help others who similarly
18    purchased a lifetime subscription from Sirius XM.
19          5.     The lifetime subscription I purchased from Sirius XM is associated with
20    a Device that was activated to receive Sirius XM’s satellite radio service prior to June
21    5, 2020 and that continues to receive the Sirius XM satellite radio service.
22          6.     My lifetime subscription is therefore an Active Lifetime Subscription.
23          7.     I retained attorneys experienced in consumer class action litigation, and
24    understood they would represent the best interests of the Class.
25          8.     I request that this Court approve the Settlement Agreement because it is
26    in the best interests of the Class.
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              DECLARATION OF PAUL WRIGHT ISO MTN FOR PRELIM. APPROVAL
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